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              UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF DELAWARE

Willie Ard; Oswald Arellano; Kimberly
Barnett; Richard Boyd; Kevin Braend;
Charles Burrow; George Bush; Kevin
Chedville; Michael Christman; Samuel             Civ. No.
Cilli; Anthony Cioffi; William Clark;            JURY TRIAL DEMANDED
Evie Code; Victor Coleman; Howard
Cooper; Patrick Costello; Maverick
Crowder; George Diakostavrianos;
Charles Donaldson; Robby Dupree;
Steve Edwards; James Fraley; Scott
Furman; Dennis Gose; James Guest;
Chad Hannagan; Demorris Harper;
Richard Harrington; George Harrison;
Terry Henning; Walter Herrod; Samuel
Hiott; Lance Huggins; William
Hutchinson; Jerome Jenkins; Joseph
Jenkins; John Kennedy; John Kessler;
Johnny Kinder; Leland Lacewell; Joseph
MacDonald; Ellery Massey; Michael
Masterson; Robert McAllister; Philip
McCartin; Ronnie McKelvey; Reginald
McLain; Jerry McLoud; Daniel Moore;
David Moree; John Mosca; Allan
Muscovitz; Jerome Myers; David
Nelson; Travers Nembhard; Paul
Newton; David Olp; Robert Olson;
Randy Overing; William Parry; Dennis
Pate; Dale Peralez; Earl Pitts; Jack Pope;
Gerald Porter; Patrick Pulliam; Robert
Rickard; Billy Roby; Charles Rowcliffe;
Richard Salo, Sr.; Edward Savage; Terry
Seidell; Ronnie Smith; Byron Spickard;
Douglas Stevenson; James Stroble, Jr.;
Charles Subecz; Wayne Sylvester; David
Tourville; Steve Tyler; John Valenti;
Robert Walker; Terrance Walker; Glenn
Wallace; Bobby Walley; David Wash;
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Brian Welsch; Carl Wilson; John Wood;
Robert Woods,
             Plaintiffs,
      v.
GlaxoSmithKline, LLC; Pfizer Inc.;
Boehringer Ingelheim Pharmaceuticals,
Inc.; Boehringer Ingelheim USA
Corporation; Sanofi-Aventis U.S. LLC;
Sanofi U.S. Services, Inc.; AND Patheon
Manufacturing Services, Inc.,

             Defendants.

                             NOTICE OF REMOVAL
      Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendant GlaxoSmithKline

LLC (“Removing Defendant”) hereby gives notice of removal of this action, Willie

Ard v. GlaxoSmithKline LLC, No. N22C-08-054, from the Superior Court of

Delaware to the United States District Court for the District of Delaware, and asserts

the following in support thereof:

                           PRELIMINARY STATEMENT

      1.     This action is one of over two thousand individual lawsuits filed against

manufacturers, distributors, and sellers of Zantac (ranitidine) or its generic

equivalents, alleging that use of the medication can cause cancer. On February 6,

2020, the Judicial Panel on Multidistrict Litigation (“JPML”) created an MDL in the

Southern District of Florida for pretrial coordination of cases like this one—i.e.,

cases “in which plaintiffs allege that they developed cancer as a result of N-

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Nitrosodimethylamine (“NDMA”) formed from Zantac.” In re Zantac (Ranitidine)

Prods. Liab. Litig., 437 F. Supp. 3d 1368, 1369 (J.P.M.L. 2020). The JPML found

that centralizing these cases for pretrial purposes “will eliminate duplicative

discovery; prevent inconsistent rulings . . . and conserve the resources of the parties,

their counsel, and the judiciary.” Id. To date, over 2,000 actions have been

transferred to or filed in the Zantac MDL.

      2.     On August 5, 2022, Plaintiffs filed this multi-plaintiff Complaint in the

Superior Court of Delaware against Defendants, joining together ninety individual

Plaintiffs from twenty-five different states and the District of Columbia. Plaintiffs

allege—like countless others in the MDL—that they each ingested Zantac and/or

generic ranitidine and, as a result, developed cancer. Compl. ¶¶ 10–465. Defendants

are some of the numerous entities involved in the manufacture, distribution, and sale

of various Zantac or generic ranitidine formulations at different times over the

medication’s forty-year history.

      3.     Plaintiffs’ decision to join their claims in one Complaint rather than

filing individual complaints violates both the Federal and Delaware Superior Court

Rules of Civil Procedure. See Fed. R. Civ. P. 20; Del. Super. Ct. R. Civ. P. 20.

      4.     As further explained below, Plaintiffs fraudulently misjoined their

claims to defeat diversity jurisdiction and frustrate removal of diverse claims to

federal court and transfer to the established Zantac MDL for coordinated and


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efficient pretrial proceedings. If Plaintiffs had not improperly joined their claims

and had proceeded with individual actions as the Rules require, federal diversity

jurisdiction would exist as to the claims of at least seventy Plaintiffs (“the Diverse

Plaintiffs”), 1 because Defendants are not citizens of any of those Plaintiffs’ states of

residence. Therefore, this Court should sever Plaintiffs’ improperly joined claims

pursuant to Federal Rule of Civil Procedure 21 and retain jurisdiction over the

Diverse Plaintiffs’ claims, thereby preserving the diversity that should have existed

but for Plaintiffs’ gamesmanship.




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  Specifically, the Diverse Plaintiffs include Willie Ard, Kevin Cheville, Victor
Coleman, Howard Cooper, Robby Dupree, James Guest, Walter Herrod, Robert
Rickard, Billy Roby, Ronnie Smith, Bobby Walley, David Wash, Oswald Arellano,
John Mosca and Dale Peralez, Kimberly Barnett, Randy Overing, Richard Boyd,
Samuel Cilli, Evie Code, George Diakostavrianos, Steve Edwards, Demorris Harper,
Samuel Hiott, Jerome Jenkins, Joseph Jenkins, John Kessler, Johnny Kinder, Jerry
McLoud, David Moree, Earl Pitts, Gerald Porter, Edward Savage, Byron Spickard,
John Valenti, Robert Walker, Terrance Walker, Carl Wilson, Kevin Braend, Charles
Burrow, Charles Donaldson, Dennis Gose, Leland Lacewell, Michael Masterson,
David Nelson, Dennis Pate, Jack Pope, Steve Tyler, George Bush, Michael
Christman, John Wood, William Clark, James Fraley, William Parry, Glenn
Wallace, Robert Woods, Patrick Costello, Scott Furman, George Harrison, Jerome
Myers, Chad Hannagan, William Hutchinson, John Kennedy, Ellery Massey,
Reginald McLain, Travers Nembhard, Paul Newton, Douglas Stevenson, James
Stroble, Jr., and Brian Welsch.

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                           VENUE AND JURISDICTION

          5.   Venue is proper in this Court pursuant to 28 U.S.C. §§ 87, 1441(a), and

1446(a) because the District of Delaware is the district embracing the place where

this action was originally pending, Superior Court of Delaware, New Castle County.

          6.   This Court has subject matter jurisdiction under 28 U.S.C. § 1332(a),

because: (1) there is complete diversity between Defendants and the Diverse

Plaintiffs; (2) the amount in controversy exceeds $75,000, exclusive of interests and

costs; and (3) all other requirements for removal have been satisfied.

                              BASIS FOR REMOVAL

I.        DIVERSITY EXISTS BETWEEN DEFENDANTS AND SEVENTY
          DIVERSE PLAINTIFFS.
          7.   There is complete diversity of citizenship between Defendants and at

least seventy of the Plaintiffs in this action: The Diverse Plaintiffs allege that he or

she is a citizen of Mississippi, New Mexico, Florida, South Carolina, Minnesota,

Arkansas, Kentucky, Montana, Washington, Texas, Maryland, New Hampshire,

Virginia, North Carolina, Georgia, Vermont, Rhode Island, Maine, Michigan, the

District of Columbia, or South Dakota. Defendants are not citizens of any of those

states.

          8.   Plaintiffs Willie Ard, Kevin Cheville, Victor Coleman, Howard

Cooper, Robby Dupree, James Guest, Walter Herrod, Robert Rickard, Billy Roby,



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Ronnie Smith, Bobby Walley, and David Wash allege that they are citizens of

Mississippi. Compl. ¶¶ 10, 45, 75, 80, 105, 130, 160, 340, 345, 370, 430, 435.

      9.     Plaintiffs Oswald Arellano, John Mosca and Dale Peralez allege that

they are citizens of New Mexico. Id. ¶¶ 15, 260, 315.

      10.    Plaintiffs Kimberly Barnett and Randy Overing allege that they are

citizens of Florida. Id. ¶¶ 20, 300.

      11.    Plaintiffs Richard Boyd, Samuel Cilli, Evie Code, George

Diakostavrianos, Steve Edwards, Demorris Harper, Samuel Hiott, Jerome Jenkins,

Joseph Jenkins, John Kessler, Johnny Kinder, Jerry McLoud, David Moree, Earl

Pitts, Gerald Porter, Edward Savage, Byron Spickard, John Valenti, Robert Walker,

Terrance Walker, and Carl Wilson allege that they are citizens of South Carolina.

Id. ¶¶ 25, 55, 70, 96, 110, 140, 165, 180, 185, 195, 200, 245, 255, 320, 330, 360,

375, 410, 415, 420, 445.

      12.    Plaintiff Kevin Braend alleges he is a citizen of Minnesota. Id. ¶ 30.

      13.    Plaintiffs Charles Burrow, Charles Donaldson, Dennis Gose, Leland

Lacewell, Michael Masterson, David Nelson, Dennis Pate, Jack Pope, and Steve

Tyler allege that they are citizens of Arkansas. Id. ¶¶ 35, 100, 125, 205, 220, 275,

310, 325, 405.

      14.    Plaintiff George Bush alleges he is a citizen of Kentucky. Id. ¶ 40.




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         15.   Plaintiffs Michael Christman and John Wood allege that they are

citizens of Montana. Id. ¶¶ 50, 450.

         16.   Plaintiffs William Clark, James Fraley, William Parry, Glenn Wallace,

and Robert Woods allege that they are citizens of Washington. Id. ¶¶ 65, 115, 305,

425, 455.

         17.   Plaintiff Patrick Costello alleges he is a citizen of Texas. Id. ¶ 85.

         18.   Plaintiffs Scott Furman, George Harrison, and Jerome Myers allege that

they are citizens of Maryland. Id. ¶¶ 120, 151, 271.

         19.   Plaintiff Chad Hannagan alleges he is a citizen of New Hampshire. Id.

¶ 135.

         20.   Plaintiff William Hutchinson alleges he is a citizen of Virginia. Id.

¶ 175.

         21.   Plaintiff John Kennedy alleges he is a citizen of North Carolina. Id.

¶ 190.

         22.   Plaintiff Ellery Massey alleges she is a citizen of Georgia. Id. ¶ 215.

         23.   Plaintiff Reginald McLain alleges he is a citizen of Vermont. Id. ¶ 240.

         24.   Plaintiff Travers Nembhard alleges he is a citizen of Rhode Island. Id.

¶ 280.

         25.   Plaintiff Paul Newton alleges he is a citizen of Maine. Id. ¶ 285.




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         26.   Plaintiff Douglas Stevenson alleges he is a citizen of Michigan. Id.

¶ 380.

         27.   Plaintiff James Stroble, Jr. alleges he is a citizen of the District of

Columbia. Id. ¶ 385.

         28.   Plaintiff Brian Welsch alleges he is a citizen of South Dakota. Id. ¶ 440.

         29.   For purposes of diversity jurisdiction, a corporation is “a citizen of

every State and foreign state by which it has been incorporated and of the State or

foreign state where it has its principal place of business.” 28 U.S.C. § 1332(c)(1).

A limited liability company is a citizen of every state in which its members are

citizens. Zambelli Fireworks Mfg. Co., Inc. v. Wood, 592 F.3d 412, 418 (3d Cir.

2010).

         30.   Defendant Boehringer Ingelheim Pharmaceuticals, Inc. is a corporation

organized under the laws of Delaware with its principal place of business in

Ridgefield, Connecticut.         Id. ¶ 471.         Defendant Boehringer Ingelheim

Pharmaceuticals, Inc. is therefore a citizen of Delaware and Connecticut.

         31.   Defendant Boehringer Ingelheim USA Corporation is a corporation

organized under the laws of Delaware with its principal place of business in

Ridgefield, Connecticut.       Id. ¶ 472.       Defendant Boehringer Ingelheim USA

Corporation is therefore a citizen of Delaware and Connecticut.




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      32.     Defendant GlaxoSmithKline LLC is a limited liability company. Id.

¶ 467. Its sole member is GlaxoSmithKline Holdings (Americas) Inc., a corporation

organized under the laws of Delaware with its principal place of business in

Wilmington, Delaware. Id. Defendant GlaxoSmithKline LLC is therefore a citizen

of Delaware.

      33.     Defendant Pfizer Inc. is a corporation organized under the laws of

Delaware with its principal place of business in New York, New York. Id. ¶ 470.

Defendant Pfizer Inc. is therefore a citizen of Delaware and New York.

      34.     Defendant Sanofi US Services Inc. is a corporation organized under the

laws of Delaware with its principal place of business in Bridgewater, New Jersey.

Id. ¶ 474. Defendant Sanofi US Services Inc. is therefore a citizen of Delaware and

New Jersey.

      35.     Defendant Sanofi-Aventis U.S. LLC is a limited liability company and

its sole member is Sanofi US Services, Inc. Id. ¶ 475. Defendant Sanofi-Aventis

U.S. LLC is therefore a citizen of Delaware and New Jersey.

      36.     Defendant Patheon Manufacturing Services LLC is a limited liability

company organized under the laws of Delaware. DPI Newco LLC is the sole

member of Patheon Manufacturing Services LLC.                Thermo Fisher (CN)

Luxembourg Holding S.a.r.l. is the sole member of DPI Newco LLC. Thermo

CIDTEC Inc. and TFS Life Holding LLC are the two members of Thermo Fisher


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(CN) Luxembourg Holding S.a.r.l. Thermo CIDTEC Inc. is incorporated in New

York and also maintains its principal place of business in New York. TFS Life

Holding LLC has 5 members: (1) Thermo Fisher Scientific Life Technologies

Investment UK I Limited, which is an English company; (2) Thermo Fisher

Scientific Sweden Holdings LLC; (3) Thermo Fisher Scientific Investments

(Sweden) S.a.r.l.; (4) Thermo Fisher Scientific Life Investments US Financing II

LLC; and (5) TFS Group Holding II LLC. Thermo Fisher Scientific Sweden

Holdings LLC has two members, Thermo Fisher Scientific Investments (Sweden)

S.a.r.l. and TFS Group Holding II LLC. Thermo Fisher Scientific Investments

(Sweden) S.a.r.l. has two members, CHK Holdings Inc., a Delaware corporation

with its principal place of business in Massachusetts, and FSWH International

Holdings LLC. Fisher Scientific Worldwide Holdings I C.V. is the sole member of

FSWH International Holdings LLC. Fisher Scientific Worldwide Holdings I C.V.

has two members, Fisher Scientific Worldwide Inc., a Delaware corporation with its

principal place of business in Massachusetts, and FSIR Holdings (US) Inc., also a

Delaware corporation with its principal place of business in Massachusetts. TFS

Group Holding II LLC has two members, Thermo Fisher Scientific Life Investments

C.V. and TFS Group Holding I LLC. Thermo Fisher Scientific Life Investments

C.V. has two members, Thermo Fisher Scientific Life Investments GP LLC and

Thermo Fisher Scientific Life Holdings II C.V. Thermo Fisher Scientific Life


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Holdings III C.V. is the sole member of Thermo Fisher Scientific Life Investments

GP LLC. Thermo Fisher Scientific Life Holdings III C.V. has five members: (1)

Thermo Fisher Scientific AL-1 LLC; (2) TFLP LLC; (3) Thermo Fisher Scientific

Inc., a Delaware corporation with its principal place of business in Massachusetts;

(4) Thermo BioAnalysis LLC; and (5) Erie Scientific LLC. TFLP LLC is the sole

member of Thermo Fisher Scientific AL-1 LLC. TFLP LLC has five members: (1)

Thermo Electron Corporation, a Delaware corporation with its principal place of

business in Massachusetts; (2) Erie Scientific LLC, whose sole member is Apogent

Technologies Inc., a Wisconsin corporation with its principal place of business in

Massachusetts; (3) Apogent Technologies Inc.; (4) Fisher Scientific Worldwide Inc.,

a Delaware corporation with its principal place of business in Massachusetts; and

(5) Fisher WWD Holding L.L.C., whose sole member is Fisher Scientific

Worldwide Inc., a Delaware corporation with its principal place of business in

Massachusetts. Thermo BioAnalysis LLC has three members: (1) Thermo Fisher

Scientific Inc.; (2) Life Sciences International Limited, an English company; and (3)

Life Sciences International LLC, whose sole member is Helmet Securities Limited,

an English company. TFS Group Holding I LLC has twelve members: (1) Thermo

Fisher Scientific Inc., (2) Thermo Luxembourg Holding LLC (Thermo Luxembourg

Holding S.a.r.l.), whose sole member is Thermo Fisher Scientific Germany BV &

Co. KG, which is owned by Thermo Fisher Scientific Inc. and Thermo Fisher


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Scientific Germany B.V., a Dutch company; (3) Molecular Bioproducts Inc., a

California corporation with its principal place of business also in California; (4)

Thermo Fisher Scientific Investments (Sweden) S.a.r.l., which has two members,

CHK Holdings Inc., a Delaware corporation with its principal place of business in

Massachusetts, and FSWH International Holdings LLC, whose sole member is

Fisher Scientific Worldwide Holdings I C.V., whose members are Fisher Scientific

Worldwide Inc., a Delaware corporation with its principal place of business in

Massachusetts, and FSIR Holdings (US) Inc., a Delaware corporation with its

principal place of business in Massachusetts; (5) Fisher Scientific Worldwide

Holdings I C.V.; (6) Thermo Fisher Scientific Life Investments US Financing I LLC,

whose members are FSIR Holdings (US) Inc. and FSWH International Holdings

LLC; (7) Fisher Scientific Worldwide Inc.; (8) Fisher Clinical Services Inc., a

Pennsylvania corporation with its principal place of business also in Pennsylvania;

(9) Liberty Lane Investment LLC, whose sole member is FSIR Holdings (US) Inc.;

(10) Fisher Scientific International LLC, whose sole member is Thermo Fisher

Scientific Inc.; (11) Thermo Fisher Scientific Life Investments US Financing II

LLC, whose members are Perbio Science Sweden Holdings AB, a Swedish

Company, and Thermo Fisher Scientific Life Investments II S.a.r.l., which is owned

by Perbio Science AB, a Swedish company; and (12) Erie LP Holding LLC, whose

sole member is Erie UK Holding Company, a Delaware corporation with its


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principal place of business in Massachusetts. Consequently, Patheon Manufacturing

Services LLC is a citizen of, at most, New York, Delaware, Massachusetts,

Wisconsin, California, Pennsylvania, England, Belgium, and Sweden.

      37.    Because Defendants are not citizens of any of the states where the

Diverse Plaintiffs reside, complete diversity exists as to those Plaintiffs. See 28

U.S.C. §§ 1332, 1441.

II.   THE   REMAINING              PLAINTIFFS         ARE       FRAUDULENTLY
      MISJOINED.

      38.    Knowing that diversity existed between them and Defendants, the

Diverse Plaintiffs fraudulently misjoined their claims with the entirely separate

claims of remaining Plaintiffs to destroy diversity and frustrate removal.

      39.    Accordingly, the citizenship of the remaining Plaintiffs—Ronnie

McKelvey, Richard Harrington, Lance Huggins, Joseph McDonalds, Robert

McAllister, Philip McCartin, Allan Muscovitz, Robert Olson, Charles Subecz,

Wayne Sylvester, David Tourville, Anthony Cioffi, Daniel Moore, Maverick

Crowder, Terry Henning, David Olp, Patrick Pulliam, Charles Rowcliffe, Richard

Salo, Sr., and Terry Seidel—should be disregarded when assessing the diversity of

citizenship of the Parties.

      40.    Where, as here, a plaintiff attempts to defeat diversity jurisdiction in

federal court by fraudulently misjoining a non-diverse party having no real

connection with the controversy, the federal court may disregard the non-diverse

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party’s citizenship for the purposes of establishing jurisdiction. See Breitner v.

Merck & Co., No. 3:18-CV-15982, 2019 WL 316026, at *2–3 (D.N.J. Jan. 24, 2019);

see also Tapscott v. MS Dealer Serv. Corp., 77 F.3d 1353, 1360 (11th Cir. 1996),

abrogated on other grounds, Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir.

2000)).

      41.    Claims are fraudulently misjoined where (1) they have been misjoined

and (2) the misjoinder was egregious. In re Fosamax (Alendronate Sodium) Prods.

Liab. Litig. (No. II), No. CIV. A. 11-3045, 2012 WL 1118780, at *3 (D.N.J. Apr. 3,

2012), aff’d, 751 F.3d 150 (3d Cir. 2014).

      42.    The fraudulent misjoinder doctrine is “particularly relevant to large

pharmaceutical product liability actions” where “the plaintiffs ‘attempt[] to join

persons . . . into one civil action who have absolutely no connection to each other

except that they each ingested the defendants’ drugs.’” Id. at *3 (quoting In re Diet

Drugs Prods. Liab. Litig., No. Civ. A. 98-20478, 1999 WL 554584 (E.D. Pa. July

16, 1999)); accord Breitner, 2019 WL 316026, at *3 (“The doctrine of fraudulent

misjoinder has been applied in pharmaceutical cases where courts determined that

plaintiffs may not be joined under Rule 20 of the Federal Rules of Civil Procedure,

when the plaintiffs ‘allege that they took the same drug and suffered similar injuries,

but took the drug at different times, received it from different sources, and live in

different states.’” (citation omitted)); see also In re Propicia (Finasteride) Prods.


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Liab. Litig., No. 12-MD-2331, 2013 WL 3729570, at *8 (E.D.N.Y. May 17, 2013)

(“The MDL procedure is designed to direct judicial resources and the parties’ pretrial

litigation efforts more efficiently to benefit both plaintiffs and defendants. If

plaintiffs can escape the MDL by joining multiple, unconnected and non-diverse

parties in a state court of their choice, they defeat the purposes of the MDL and deny

defendants their right to removal.”).

      43.    Here, Plaintiffs misjoined their claims. Both the Federal and Delaware

Superior Court Rules of Civil Procedure 20 allow joinder of claims only if they

“aris[e] out of the same transaction, occurrence, or series of transactions or

occurrences.”

      44.    Each Plaintiff’s alleged purchase and use of ranitidine and subsequent

alleged development of cancers are separate transactions and occurrences. Compl.

¶¶ 10–465. Although Plaintiffs provide almost no factual details in their Complaint,

each Plaintiff presumably purchased or acquired different forms of ranitidine from

different locations, used ranitidine over different time frames, and were diagnosed

with different cancers at different times.         Plaintiffs likely saw different

advertisements about ranitidine; some may have seen none at all. Indeed, Plaintiffs

do not even allege that they each used ranitidine manufactured by the same

Defendant.




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      45.    “The majority of courts to address joinder in the context of drug liability

cases have found that basing joinder merely on the fact that the plaintiffs ingested

the same drug and sustained injuries as a result thereof is insufficient to satisfy Rule

20(a)’s ‘same transaction’ requirement.” Cumba v. Merck & Co., Inc., No. 08-CV-

2328, 2009 WL 1351462, at *1 (D.N.J. May 12, 2009). Similar attempts to join

unrelated pharmaceutical liability cases have been rejected because they “in no way

promote[] judicial efficiency or convenience” due to “the complicated causation

questions that pervade drug product liability claims” that require “divergent

questions of law and fact.” In re Fosamax, 2012 WL 1118780, at *4 (citing In re

Rezulin Prods. Liability Litig., 168 F. Supp. 2d 136, 146 (S.D.N.Y. 2001)); see also

In re Propicia (Finasteride) Prod. Liab. Litig., 2013 WL 3729570, at *12–14; In re:

Baycol Prods. Liab. Litig., MDL No. 1431, 2002 WL 32155269, at *1 (D. Minn.

July 5, 2002); In re Diet Drugs Prods. Liab. Litig., 1999 WL 554584, at *3 (E.D.

Pa. July 16, 1999) (finding that non-diverse plaintiffs who did not allege similar

circumstances pertaining to their use of pharmaceuticals were fraudulently

misjoined because “the joinder of such unconnected, geographically diverse

plaintiffs that present individual circumstances material to the final outcome of their

respective claims would obstruct and delay the adjudication process”); Breitner,

2019 WL 316026, at *4 (finding that plaintiffs vaccinated in different years and




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states and by different healthcare providers were egregiously misjoined to defeat

diversity jurisdiction).

        46.    Plaintiffs’ joinder of their entirely unrelated claims is egregious.

Plaintiffs specifically structured their Complaint to defeat diversity. If Plaintiffs had

not misjoined their claims, the individual complaints that the Diverse Plaintiffs

would be required to file would be removable on their face because the Diverse

Plaintiffs are each completely diverse from all Defendants in this case. Plaintiffs

joined their claims to frustrate Defendants’ ability to remove their claims, knowing

that upon removal, the Joint Panel on Multidistrict Litigation will transfer them to

the Zantac MDL. Joinder cannot be used to thwart Defendants’ statutory right of

removal to federal court. See In re Diet Drugs Prods. Liab. Litig., 1999 WL 554584,

at *2; In re Fosamax, 2012 WL 1118780, at *5; Breitner, 2019 WL 316026, at *2.2

        47.    In sum, Plaintiffs have improperly crafted their Complaint to avoid

federal jurisdiction by bootstrapping on the claims of seventy diverse Plaintiffs to


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        Although their blatant attempt to avoid transfer of seventy Plaintiffs’ claims to the MDL is
independently sufficient for the Court to find fraudulent misjoinder, the egregiousness of
Plaintiffs’ misjoinder is further underscored by their artful pleading. Specifically, Plaintiffs have
deliberately failed to differentiate between each Defendant’s alleged conduct or identify which
“Ranitidine-Containing Drug” each Plaintiff took and when he or she took it—thus enabling them
(for now) to get around the fraudulent joinder (as opposed to misjoinder) doctrine, which requires
courts to evaluate diversity jurisdiction without regard to the citizenship of any defendant against
whom the plaintiff does not have a colorable claim. See Avenatti v. Fox News Network LLC, 41
F.4d 125, 133 (3d Cir. 2022). The omitted information will likely show that several (if not all) of
the twenty remaining Plaintiffs are also diverse vis-à-vis the specific Defendant(s) who actually
manufactured or distributed the Zantac they allegedly consumed. Accordingly, not only are the
claims of seventy Plaintiffs demonstrably removable right now, all Plaintiffs’ actions might be
removable right now but for their deliberately vague pleadings.
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the claims of twenty Plaintiffs who may or may not be diverse depending on what

medications they took and when they took them. Such misjoinder is egregious.

       48.   Because Plaintiffs’ claims are fraudulently misjoined, the Court should

sever all Plaintiffs pursuant to Federal Rule of Civil Procedure 21 and properly

exercise jurisdiction over the case.      After severance, the Court should retain

jurisdiction over the Diverse Plaintiffs’ claims and remand the remaining Plaintiffs’

claims to the Delaware Superior Court.

III.   THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

       49.   Plaintiffs’ claims satisfy the amount-in-controversy requirement under

28 U.S.C. § 1332(a).

       50.   Where, as here, a complaint does not set forth a specific amount of

damages, “a defendant’s notice of removal need include only a plausible allegation

that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee

Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89 (2014). Remand is proper only

“if it appears to a legal certainty that the Plaintiff cannot recover the jurisdictional

amount.” Frederico v. Home Depot, 507 F.3d 188, 197 (3d Cir. 2007).

       51.   Federal courts in this Circuit routinely find that the amount in

controversy requirement is satisfied where, as here, a plaintiff alleges serious bodily

injury and related damages. See, e.g., Johnson v. Organo Gold Int’l, Inc., 146 F.

Supp. 3d 590, 593 (D. Del. 2015); Strauss v. Ghuman Truck Serv., Inc., 2015 WL


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1822576, at *3 (E.D. Pa. Apr. 22, 2015) (holding that claims for “serious injuries,

medical expenses, and present and future wage loss . . . clearly indicate that the

amount in controversy is in excess of $75,000”); Howlett v. Irwin, 2011 WL 722373,

at *2 (E.D. Pa. March 1, 2011) (holding that the amount in controversy was met

where plaintiff alleged “serious injury . . . pain, discomfort, trauma, anxiety, and/or

mental anguish” and economic damages). Moreover, in another Zantac-related case

alleging cancer as an injury, a federal court in the District of Nevada denied a motion

to remand where the amount in controversy was not alleged, because the requirement

was satisfied on the face of the complaint by the nature of the injury. See, e.g.,

Brooks v. Sanofi, S.A., 2020 WL 1847682, at *4 (D. Nev. Apr. 13, 2020); see also

Gates v. 84 Lumber Co., 2015 WL 2345427, at *1 (S.D. Ala. May 14, 2015)

(inferring that the amount in controversy requirement was met when the alleged

injury included cancer).

      52.    Here, it is apparent from the face of the Complaint that the amount in

controversy exceeds $75,000. Plaintiffs each allege that as “a direct and proximate

result of consuming carcinogenic Ranitidine-Containing Drugs,” they “suffered

significant harm, conscious pain and suffering, physical injury and bodily

impairment including, but not limited to cancer, other permanent physical deficits,

permanent bodily impairment and other sequelae, lost income, impairment of power

to labor and earn money, and will incur past and future medical expenses.” E.g.,


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Compl. ¶¶ 10, 14. Plaintiffs also seek several categories of damages, including

actual and compensatory damages, exemplary and punitive damages, and attorney’s

fees. Id. at 163 (Prayer for Relief). It is thus clear that the amount in controversy

exceeds $75,000, exclusive of interest and costs.

IV.   ALL OTHER REQUIREMENTS FOR REMOVAL ARE SATISFIED.

      53.    No Defendant has been properly served to date. Delaware Superior

Court Rule of Civil Procedure 4 requires that service of process be made by the

sheriff at the direction of the prothonotary. See SUPER. CT. CIV. R. 4(a) & 4(d);

Alston v. Dipasquale, No. Civ.A 01C-07-050, 2001 WL 34083824, at *1 (Del.

Super. Oct. 19, 2001). But the sheriff has not yet served Defendants. Instead,

Plaintiffs’ counsel merely provided Defendants with courtesy copies of the

Complaint with no docket number or stamp from the Court.

      54.    Because Plaintiffs have not yet properly served Defendants, 28 U.S.C.

§ 1441(b)(1) does not apply. Encompass Ins. Co. v. Stone Mansion Restaurant Inc.,

902 F.3d 147, 153–54 (3d Cir. 2018); Papa Air LLC v. Cal-Mid Props. L.P., 2020

WL 3037068, at *2–6 (N.D. Ala. June 5, 2020).

      55.    Because the Complaint was filed on August 5, 2022, this Notice of

Removal is timely and properly filed pursuant to 28 U.S.C. § 1446(b)(1).




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      56.    Similarly, because Plaintiffs have not yet properly served any

Defendants, no other Defendants are required to join or consent to removal under 28

U.S.C. § 1446(b)(2)(A).

      57.    The Removing Defendant is providing Plaintiffs with written notice of

the filing of this Notice of Removal as required by 28 U.S.C. § 1446(d).

      58.    Pursuant to 28 U.S.C. § 1446(d), the Removing Defendant is filing a

copy of this Notice of Removal with the clerk of court in the Superior Court of

Delaware.

      59.    Pursuant to 28 U.S.C. § 1446(a), copies of all process, pleadings, orders

and other papers filed in the state court action—as available from the state court

docket or otherwise made available to the Removing Defendant at the time of filing

this Notice—are attached hereto as Exhibit A.

      60.    If any question arises regarding the propriety of the removal to this

Court, the Removing Defendant request the opportunity to present a brief and be

heard at oral argument in support of removal.

      61.    No previous application has been made for the relief requested herein.

                                  CONCLUSION

      WHEREFORE, Removing Defendant gives notice that the matter bearing

Case No. N22C-08-054, pending in the Superior Court of Delaware, is removed to

the United States District Court for the District of Delaware.


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DATED:    August 22, 2022

                                  Respectfully Submitted,

                                  ECKERT SEAMANS
                                  CHERIN & MELLOTT, LLC

                                  /s/ Patrick M. Brannigan
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